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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE FIRSTENERGY CORP.
SECURITIES LITIGATION,

This document relates to:                                Civil Action 2:20-cv-3785
                                                         Chief Judge Algenon L. Marbley
                                                         Magistrate Judge Jolson
        DIANE OWENS, et al.,

                         Plaintiffs

             v.
        FIRSTENERGY CORP., et al.,

                         Defendants



                                                ORDER

        This matter is before the Court on Lead Plaintiff’s request for a telephonic discovery

conference. On April 13, 2022, Lead Plaintiff emailed the Court to request a conference, informing

the Court that there was a dispute about scheduling a deposition. The Court responded that the

Parties should make every effort to resolve the dispute on their own, and the Court expected that

the Parties would confer on April 14, 2022. The Court set a telephonic conference for April 15,

2022 at 2:00 p.m. to be held in the event that the Parties were unable to reach agreement through

the conferral process.

        Based upon the communication received from Defendant FirstEnergy on April 14, 2022,

the Court understands that the Parties did not confer.             That was contrary to the Court’s

expectations. Accordingly, the Parties are ORDERED to meet and confer by April 20, 2022, and

file a joint status report regarding their efforts by that date.

        The telephonic discovery conference set for April 15, 2022 is VACATED.

        IT IS SO ORDERED.
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Date: April 15, 2022                        /s/ Kimberly A. Jolson
                                            KIMBERLY A. JOLSON
                                            UNITED STATES MAGISTRATE JUDGE
